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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                 FLORENCE DIVISION
 Wright, Worley, Pope, Ekster               )               C/A No. 4:21-02222-JD-KDW
 & Moss, PLLC,                              )
                                            )
                                 Plaintiff, )
                                            )
 v.                                         )           REPORT AND RECOMMENDATION
                                            )
 Sherry Ann Smith and Blue Cross Blue       )
 Shield of Tennessee,                       )
                                            )
                              Defendants. )
                                            )

       This matter is before the undersigned United States Magistrate Judge for a Report and

Recommendation (“Report”) on the pending Motion for Summary Judgment filed by Defendant

Blue Cross Blue Shield of Tennessee (“BCBST”). ECF No. 29. The case is before the undersigned

because Defendant Sherry Ann Smith is proceeding pro se. Pursuant to 28 U.S.C. § 636(b)(1), and

Local Civil Rule 73.02(B)(2)(e) (D.S.C.), this magistrate judge is authorized to review all pretrial

matters in such pro se cases and to submit findings and recommendations to the district court.

I.     Factual and Procedural Background

       Plaintiff, the law firm of Wright, Worley, Pope, Ekster & Moss, PLLC (“Law Firm” or

“Plaintiff”), represented Defendant Sherry Ann Smith (“Client” or “Smith”) in a previous personal

injury case concerning an August 21, 2016 incident. That matter was settled in mediation. Compl.

¶¶ 9-10. The settlement proceeds from that matter were deposited into Law Firm’s Trust Account.

Id. ¶ 9. BCBST is the third-party claims administrator that administered Smith’s claims for benefits

under the West Fraser, Inc. Health and Welfare Plan (“Plan”). Declaration of BCBST Subrogation

Analyst Tracy Odders (“Odders Decl.”) ¶ 2, ECF No. 29-2. The Plan is an employee welfare

benefit plan that is governed by the federal Employee Retirement Income Security Program,
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commonly referred to as ERISA, 29 U.S.C. §§ 1001-1169. ERISA confers exclusive jurisdiction

on this court. See 29 U.S.C. §§ 1132(a)(3)(B)(ii) and (E); Sereboff v. Mid Atl. Med. Servs., Inc.,

547 U.S. 356, 363, 366 (2006) (finding ERISA confers jurisdiction over claims by ERISA-plan

fiduciaries to recover equitable lien based on terms of Plan).

       In connection with the injuries suffered by Smith in the August 21, 2016 incident, the Plan

indicates it has paid medical benefits on her behalf in the amount of $7,132.17 (“Disputed Funds”).

Compl. ¶ 10. The Plan’s Summary Plan Description (“SPD”) contains a section entitled,

“Subrogation and Right of Reimbursement,” which sets forth the Plan’s rights of subrogation and

reimbursement in the event the Plan pays benefits for injuries that are caused or contributed to by

a third-party. SPD 87-88, ECF No. 29-3. BCBST asserted a first-priority right of subrogation and

reimbursement over a portion of the settlement proceeds equal to the amount of its asserted lien.

Id. ¶¶ 10. Smith would not authorize Law Firm to reimburse the Plan in accordance with its terms,

and this litigation ensued. Id. ¶ 11. Smith and Law Firm have “severed their relationship as attorney

and client.” Id. ¶ 12. The Disputed Funds remain in the Law Firm’s Trust Account. Id. ¶¶ 9, 13.

       Law Firm brought this action seeking resolution of whether Smith or BCBST is entitled to

the Disputed Funds held in its Trust Account. See generally, Compl. 1 Law Firm indicates it “claims

no interest in the money yet cannot safely distribute the money or any part of it without an Order

of the Court establishing the rights of the parties.” Compl. ¶ 15. BCBST answered, asserting its



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  Although the Complaint suggests that the Disputed Funds be deposited with the Clerk of Court
in interpleader, no party has moved to have the Disputed Funds held by the court. Given that the
Disputed Funds are currently held in trust and no party has requested the funds be moved before
this matter is resolved, the court does not further consider the request for deposit. ERISA provides
exclusive jurisdiction herein; to the extent the interpleader request is construed under Federal Rule
of Civil Procedure 22, deposit of disputed funds with the court is not necessarily required. See
generally, In re Enron Corp. Sec., Derivative & “ERISA” Litig., 391 F. Supp. 2d 541, 560 & n.
29 (S.D. Tex. 2005) (noting Fed. R. Civ. P. 22 interpleader does not require a deposit with the
court).
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rights to the Disputed Funds. ECF No. 6. Smith submitted a short document that is construed as

an Answer. ECF No. 5. Smith avers she is “entitled to all monies that are in question” in this

matter. Id. She indicates “per [her] attorney Moss and by proof of receipts [she has] in [her]

possession 2 all monies Blue Cross believes they are owed ha[ve] already been paid and therefore

it is [her] belief that all monies left in the account in question belong to [her].” Id. Other than her

Answer, Smith’s only other filings with the court were responses to preliminary court

interrogatories and scheduling information. ECF Nos. 16-18.

        Nothing further transpired in this matter until BCBST filed the instant Motion for Summary

Judgment on April 6, 2022. In that Motion, BCBST “requests that this Court find that the Plan’s

terms allow for reimbursement and enter judgment in its favor in the amount of $7,132.17, along

with any further relief the Court deems just and proper.” Mem. Supp. Mot. Summ. J. 2, ECF No.

29-1.

        No party has filed any response to the Motion. As Law Firm has indicated it takes no

position as to whom the Disputed Funds should be disbursed, no response would be expected of

it. Because Smith is proceeding pro se, she was advised she had the opportunity to respond to

BCBST’s Motion and that, if she did not respond adequately, the court could grant the Motion and

enter judgment in BCBST’s favor, resulting in the Disputed Funds in this matter being awarded to

BCBST and not to Smith. Apr. 8, 2022 Order, ECF No. 30. It appears that Smith received that

Order as it was not returned to the court. Smith’s May 9, 2022 deadline for responding to the

Motion passed with no response or communication from her. On May 23, 2022, the court again

advised Smith of the importance of responding to BCBST’s Motion and that, if she did not provide




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 Smith has not provided any such receipts or otherwise provided evidence in support of her
position.
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sufficient response by June 13, 2022, it would be “recommended that the Motion be granted and

that judgment be entered in favor of BCBST and this matter be ended.” ECF No. 36. Smith has

filed no response. Further, although she was reminded at the outset of this litigation that she was

required to keep the court apprised of her address, ECF No. 12, the May 23, 2022 Order has been

returned as undeliverable, ECF No. 39.

III.    Discussion

        Given Smith’s failure to respond to the pending Motion, the court may grant the relief

sought by BCBST without further discussion. In any event, the undersigned has reviewed the

relevant portions of the Plan documents provided by BCBST and finds that it has established that

the Plan terms entitle it to reimbursement of medical benefits it paid on Smith’s behalf. BCBST

has established entitlement to an equitable lien on the Disputed Funds.

        The Plan’s “Subrogation and Right of Reimbursement” provision provides for

reimbursement of benefits paid in situations such as the one presented here in which a beneficiary

(such as Smith) is injured by another party (such as defendant in Smith’s earlier personal injury

case); the Plan pays medical expenses because of that injury; the beneficiary obtains a settlement

or judgment; and the beneficiary fails to abide by the Plan terms. The Plan terms provide in relevant

part:

        B. Priority Right of Reimbursement

        Separate and apart from the Plan’s right of subrogation, the Plan shall have first
        lien and right to reimbursement. The Plan’s first lien supercedes any right that You
        may have to be “made whole”. In other words, the Plan is entitled to the right of
        first reimbursement out of any recovery You might procure regardless of whether
        You have received compensation for any of Your damages or expenses, including
        Your attorneys’ fees or costs. This priority right of reimbursement supersedes Your
        right to be made whole from any recovery, whether full or partial. In addition, You
        agree to do nothing to prejudice or oppose the Plan’s right to subrogation and
        reimbursement and You acknowledge that the Plan precludes operation of the
        “made-whole”, “attorney-fund”, and “common-fund” doctrines. You agree to

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reimburse the Plan 100% first for any and all benefits provided through the Plan,
and for any costs of recovering such amounts from those third parties from any and
all amounts recovered through:

   •   Any settlement, mediation, arbitration, judgment, suit, or otherwise, or
       settlement from Your own insurance and/or from the third party (or their
       insurance);
   •   Any auto or recreational vehicle insurance coverage or benefits including,
       but not limited to, uninsured motorist coverage;
   •   Business and homeowner medical liability insurance coverage or payments.

The Plan may notify those parties of its lien and right to reimbursement without
notice to or consent from those Members.

This priority right of reimbursement applies regardless of whether such payments
are designated as payment for (but not limited to) pain and suffering, medical
benefits, and/or other specified damages. It also applies regardless of whether the
Member is a minor.

This priority right of reimbursement will not be reduced by attorney fees and costs
You incur.

The Plan may enforce its rights of subrogation and recovery against, without
limitation, any tortfeasors, other responsible third parties or against available
insurance coverages, including underinsured or uninsured motorist coverages. Such
actions may be based in tort, contract or other cause of action to the fullest extent
permitted by law.

Notice and Cooperation

Members are required to notify the administrator promptly if they are involved in
an incident that gives rise to such subrogation rights and/or priority right of
reimbursement, to enable the administrator to protect the Plan’s rights under this
section. Members are also required to cooperate with the administrator and to
execute any documents that the administrator, acting on behalf of the Employer,
deems necessary to protect the Plan’s rights under this section.

The Member shall not do anything to hinder, delay, impede or jeopardize the Plan’s
subrogation rights and/or priority right of reimbursement. Failure to cooperate or
to comply with this provision shall entitle the Plan to withhold any and all benefits
due the Member under the Plan. This is in addition to any and all other rights that
the Plan has pursuant to the provisions of the Plan’s subrogation rights and/or
priority right of reimbursement.

If the Plan has to file suit, or otherwise litigate to enforce its subrogation rights
and/or priority right of reimbursement, You are responsible for paying any and all

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       costs, including attorneys’ fees, the Plan incurs in addition to the amounts recovered
       through the subrogation rights and/or priority right of reimbursement.

       Legal Action and Costs

       If You settle any claim or action against any third party, You shall be deemed to
       have been made whole by the settlement and the Plan shall be entitled to collect the
       present value of its rights as the first priority claim from the settlement fund
       immediately. You shall hold any such proceeds of settlement or judgment in trust
       for the benefit of the Plan. The Plan shall also be entitled to recover reasonable
       attorneys’ fees incurred in collecting proceeds held by You in such circumstances.

       Additionally, the Plan has the right to sue on Your behalf, against any person or
       entity considered responsible for any condition resulting in medical expenses, to
       recover benefits paid or to be paid by the Plan.

       Settlement or Other Compromise

       You must notify the administrator prior to settlement, resolution, court approval, or
       anything that may hinder, delay, impede or jeopardize the Plan’s rights so that the
       Plan may be present and protect its subrogation rights and/or priority right of
       reimbursement.

       The Plan’s subrogation rights and priority right of reimbursement attach to any
       funds held, and do not create personal liability against You.

       The right of subrogation and the right of reimbursement are based on the Plan
       language in effect at the time of judgment, payment or settlement.

       The Plan, or its representative, may enforce the subrogation and priority right of
       reimbursement.

       The Covered Person agrees that the proceeds subject to the Plan’s lien are Plan
       assets and the Covered Person will hold such assets as a trustee for the Plan’s
       benefit and shall remit to the Plan, or its representative, such assets upon request.
       If represented by counsel, the Covered Person agrees to direct such counsel to hold
       the proceeds subject to the Plan’s lien in trust and to remit such funds to the Plan,
       or its representative, upon request. Should the Covered Person violate any portion
       of this section, the Plan shall have a right to offset future benefits otherwise payable
       under this plan to the extent of the value of the benefits advanced under this section
       to the extent not recovered by the Plan.

SPD 87-88, ECF No. 29-3 (emphasis in original).




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       This right of reimbursement creates an equitable lien by agreement that may be enforced

against Smith, so long as she—or some other entity—exercises possession or control over the

Disputed Funds. Here, the Disputed Funds are being preserved in Law Firm’s trust account.

BCBST has provided evidence that it paid the $7,132.17 in medical expenses on Smith’s behalf.

Odders Decl. ¶ 10 & ex. 2—Itemization, ECF No. 29-3. Smith has provided no evidence to the

contrary, despite having been provided ample opportunity to do so.

       BCBST seeks to enforce the provisions of ERISA and to enforce the Plan’s terms

concerning reimbursement. The undersigned recommends a finding that BCBST’s Motion for

Summary Judgment be granted establishing the Plan’s entitlement to the Disputed Funds. If this

recommendation is adopted, Law Firm is to be instructed to distribute the Disputed Funds to the

Plan; Smith will not be entitled to the Disputed Funds.

IV.    Recommendation

       Accordingly, it is recommended that the district court grant the pending Motion for

Summary Judgment, ECF No. 29. Judgment in favor of BCBST and the Plan is appropriate. If this

recommendation is adopted, such judgment will be satisfied by payment of the Disputed Funds in

Law Firm’s trust account being paid to BCBST/the Plan. As this will dispose of the issue presented

in this case, the case will then be closed.

       IT IS SO RECOMMENDED.




July 5, 2022                                                 Kaymani D. West
Florence, South Carolina                                     United States Magistrate Judge

         The parties are directed to note the important information in the attached
           “Notice of Right to File Objections to Report and Recommendation.”



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